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                          UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                            :          NO. 4:16-CR-00001
                                                    :
               v.                                   :          Judge Brann
                                                    :
     ROBERT ELDER                                   :          Filed Via ECF


                                      Sentencing Memorandum

              I have acquired new wisdom ...or, to put it more critically, have
       discarded old ignorance.1


I.     Introduction

       On January 6, 2016, Robert Elder, a 40 year old who lives with his parents and has never

been in trouble, pled guilty to one count of Possession of Child Pornography in violation of Title

18 United States Code, Section 2252.2 Robert Elder never produced, created or disseminated

child pornography. Although Mr. Elder has no criminal history, and by any measure is among

the least serious offenders subjected to the child pornography sentencing guideline, his total

offense level before acceptance of responsibility is 31, the same as if he had robbed a bank at

knifepoint and abducted the teller.

       Robert Elder consumed child pornography – nothing more and nothing less -- and, unlike

the typical criminal defendant who may appear before this court, he took no steps, sophisticated

or otherwise, to hide his actions. This is not an offender who “does not get it” and only

opportunistically, pretends to. Robert Elder admitted everything to law enforcement – he was



1
  Justice Scalia’s concurrence in Ring v. Arizona, 536 U.S. 584, 611, 122 S. Ct. 2428, 2444
(2002)
2
  The maximum penalty for that offense is imprisonment for a period of 20 years, a fine of
$250,000, a maximum term of supervised release of life.
                                                1
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